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Name                                                AccountNo           ClaimAmt
Rupert and/or Gail Annis                            01052017E2074         $702,032.26
Steven Bartosik                                     10182018E2101          $70,203.23
Gregory Bartosik                                    10182018E2102         $100,290.32
Leonard and Mary Bonfanti                           12162017D2086         $100,290.32
Benoit Brodeur                                      12162017D2086         $250,725.81
Maureen J Brodeur                                   11202013B2037         $250,725.81
Burke Family Trust, Kevin P. Burke Trustee                                $200,580.65
Sheila Burke                                        11142012A2006         $190,557.87
Laurie T Cameron                                    11062013B2036         $385,808.73
James Coffin                                                               $40,116.13
Francis Devaney                                                            $30,087.10
Francis Devaney                                                           $184,035.83
Marylene Devaney                                                           $50,145.16
John Diller                                         03182016D2066         $200,580.65
William Downey                                      08302017D2085         $200,580.65
DEREK DUGUAY                                        02062019F2108          $15,058.06
Gary Duguay                                         01242017e2075          $75,217.74
John H Ellis JR                                     12062012A2010         $100,322.58
John H Ellis JR                                     01192013b2027         $300,967.74
John H Ellis JR                                     04252013B2028         $200,645.16
John H Ellis JR                                     10312015C2048         $501,612.90
John H Ellis JR                                     10312015C2049         $150,483.87
John H Ellis JR                                     05292015D2050         $100,322.58
John H Ellis JR                                     08252015D2057          $50,161.29
John H Ellis JR                                     12012015D2060         $100,322.58
John H Ellis JR                                     120122015D2061        $200,645.16
John H Ellis JR                                     0822212017d2084       $100,322.58
John H Ellis JR                                     04262018D22090        $100,322.58
John H Ellis JR                                     09282018d2100         $200,645.16
Theresa M Follett                                   05172016D2067          $50,145.16
Frank Foti                                          04152014C2043         $200,580.65
Frank Foti                                          05152014C2045         $100,290.32
Ronald P Giovannacci                                10012013B2033         $100,290.32
Francis Green                                                             $406,306.45
Mark Harrington                                     12272019F2120          $20,058.50
Ruth A Harris                                                              $25,072.58
Stephanie Harris                                    06012017D2080         $118,844.03
Roy Hayward                                         07102017E2083         $200,580.65
Boyd Jackson                                        04152013b2026         $200,580.65
Edward & Gloria Jones                               06282018E2095          $10,029.03
Pensco Trust Company Custodian FBO Edward K. Jones IRA
                                                    12292012A2015          $79,206.64
Pensco Trust Company Custodian FBO Edward K. Jones IRA
                                                    12042013B2038          $73,236.73
Mark & Elizabeth Joyce JTWROS                       01252013B2019         $200,580.65
K Diamond Builders LLC                              12192012A2013         $100,290.32
Pensco Trust Company Custodian FBO Kathleen Kaplan IRA
                                                    12062018E2104         $125,483.87
Lawrence P Kaplan                                   08292015D2056         $707,274.19
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Name                                                   AccountNo         ClaimAmt
Pensco Trust Company Custodian FBO Lawrence P. Kaplan  03082012A2002       $119,424.38
Leia Kaplan                                                                 $10,029.03
Christine T Karaffa                                    04022014C2044       $401,161.29
Estate of Leonard H. Kieley                            06242015f2048       $100,290.32
Howard Klein                                           12282016D2073        $20,058.06
Philip Knowles                                         10142015d2059       $175,508.06
Irma Lampert                                                                $50,897.34
Alfred Laustsen                                        08032015C2053       $100,290.32
Doug Laustsen                                          06122017D2081        $50,145.16
Susan Lindh                                                                 $25,072.58
James Lynch                                                                 $50,193.55
Charles Maihos                                         12042012A2009       $100,290.32
Lee A McNelly                                                               $25,072.58
William O'Connor                                                           $250,725.81
Ronald J Pascucci                                      01252013B2018       $200,580.65
Deborah Pierce                                         05302018E2094        $75,217.74
Kathy F Pierce                                         10262012A2003       $702,032.26
Stephen E Pierce                                       03052013B2024       $100,290.32
Todd Pierce                                            11262012A2007       $250,725.81
John F Reynolds                                        11042013B2035       $150,435.48
Damian and Melanie Robert                              02072017E2077       $250,806.44
Edward Christine Roman                                 02012014C2040       $401,161.29
Rolanda Lee Sturtevant                                 05212019F2114       $536,293.25
Paul Taylor                                            01102018E2088       $200,580.65
James Tedford                                          10302012A2005       $100,290.32
Walsh Construction                                     02012017E2076       $300,903.22
Colette A Willis                                                           $124,586.19
PENSCO TRUST COMPANY FBO COLETTE A. WILLIS IRA                             $274,901.92
Dianne Yurkavich                                       01072019F2106        $15,043.55
Gail Annis                                             08102018E2098        $26,308.18
Thomas and Patricia Bettencourt                                            $205,205.73
Gregory Cole                                           12112018E2015        $12,640.82
Diane Dedam                                            02282013b2023        $30,068.26
Pacific Premier Trust Custodian FBO Diane J. Dedam IRA 06292016D2070       $130,542.48
Gary Duguay                                            07102017E2082       $127,249.92
Gary Duguay                                            02062019F2109       $105,329.84
Ann Gill                                               05152018e2092         $6,776.33
Liam Gill                                              05152018E2093        $60,987.01
Valerie Harris                                         02212013B2022        $12,683.57
Keith Harris                                           06072013b2030        $12,310.55
Ruth A Harris                                                               $72,651.48
Steven Harris                                          01312020f2121        $66,642.09
Terri Hawthorne                                        05232016d2068        $70,554.01
Pensco Trust Company Custodian FBO Terri L. Hawthorne10042016D2071
                                                        IRA                $147,357.91
Pensco Trust Company Custodian FBO Christopher Knowles 02082019f2110
                                                          IRA               $61,958.73
Pensco Trust Company Custodian FBO Emily Lampert IRA                       $157,303.74
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Name                                                AccountNo           ClaimAmt
Diana Lombard                                       11152018E2103          $95,754.21
Casey Mesina                                                               $17,436.36
John Morin                                          06222016D2069         $295,486.12
Pensco Trust Company Custodian FBO Sonja P. Murphy IRA
                                                    10232019F2118          $57,217.85
Pensco Trust Company Custodian FBO Todd M. Pierce IRA
                                                    02212020f2122         $109,970.45
Damian and Melanie Robert                           02282018E2090       $1,388,780.56
Damian and Melanie Robert                                                 $161,218.71
William Savoie                                      01232013B2017         $309,793.64
Robert Skeffington                                  01302018E2089         $201,767.53
Rolanda Lee Sturtevant                              05212019F2113         $214,942.80
David Sutherland                                    07222019F2115          $23,580.64
Kim Sutherland                                      07222019F2116          $23,580.64
Rina Sutherland                                     07222019F2117           $5,895.16
Gregory Watkins                                     10232014C2047          $72,651.48
Charles D Whitten                                                         $123,917.46
